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                                                                 EXHIBIT E16

                                                 USA Commercial Mortgage Company, et al.
                                                  Avoidance Actions/Preference Analysis
                                                  April 13, 2006 through March 12, 2007



Name                       Date    Description                                                                   Hours    Rate        Fees
December 1, 2006 through December 31, 2006
Cheng, Patrick           12/01/06   Correspond with E. Monson (RQN) on the certain creditor information           0.2    $ 560.00 $      112.00
                                    available for the Debtors' affiliates.
Cheng, Patrick           12/01/06   Begin to assemble and review information relevant to the preparation of       3.4      560.00       1,904.00
                                    the 2004 Examination of certain of the Debtor's affiliates.

Cheng, Patrick           12/01/06   Continue to assemble and review information relevant to the preparation       0.7      560.00        392.00
                                    of the 2004 Examination of certain of the Debtor's affiliates.

Smith, Susan             12/03/06   Review Unsecured Creditors Committee's draft preference action.               0.3      590.00         177.00
Cheng, Patrick           12/04/06   Prepare for meeting with RQN attorneys on the preparation of 2004             3.6      560.00       2,016.00
                                    Examination of certain of the Debtors' affiliates.
Cheng, Patrick           12/04/06   Prepare for meeting with RQN attorneys on the preparation of 2004             0.8      560.00        448.00
                                    Examination of certain of the Debtors' affiliates.
Cheng, Patrick           12/05/06   Prepare for meeting with RQN attorneys on the preparation of 2004             2.2      560.00       1,232.00
                                    Examination of certain of the Debtors' affiliates.
Cheng, Patrick           12/05/06   Participate in meeting with A. Brinkerhoff and E. Monson (both RQN)           2.6      560.00       1,456.00
                                    regarding preparation of 2004 Examination of certain of the Debtors'
                                    affiliates.
Cheng, Patrick           12/05/06   Continue meeting with A. Brinkerhoff and E. Monson (both of RQN)              1.7      560.00        952.00
                                    regarding preparation of 2004 Examination of certain of the Debtors'
                                    affiliates.
Cheng, Patrick           12/05/06   Meet with A&E regarding analysis of information on Debtor affiliate.          3.7      560.00       2,072.00

Cheng, Patrick           12/06/06   Continue meeting with A. Brinkerhoff and E. Monson (both of RQN)              2.3      560.00       1,288.00
                                    regarding preparation of 2004 Examination of certain of the Debtors'
                                    affiliates.
Cheng, Patrick           12/06/06   Continue meeting with A. Brinkerhoff and E. Monson (both of RQN)              3.7      560.00       2,072.00
                                    regarding preparation of 2004 Examination of certain of the Debtors'
                                    affiliates.
Cheng, Patrick           12/07/06   Continue meeting with A. Brinkerhoff and E. Monson (both of RQN)              3.6      560.00       2,016.00
                                    regarding preparation of 2004 Examination of certain of the Debtors'
                                    affiliates.
Cheng, Patrick           12/07/06   Review certain organizational and financing documents of certain of the       0.6      560.00        336.00
                                    Debtors' affiliates.
Cheng, Patrick           12/07/06   Continue meeting with A. Brinkerhoff and E. Monson (both of RQN)              2.8      560.00       1,568.00
                                    regarding preparation of 2004 Examination of certain of the Debtors'
                                    affiliates.
Cheng, Patrick           12/07/06   Continue meeting with A. Brinkerhoff and E. Monson (both of RQN)              2.6      560.00       1,456.00
                                    regarding preparation of 2004 Examination of certain of the Debtors'
                                    affiliates.
Cheng, Patrick           12/08/06   Participate in meeting with A. Brinkerhoff and E. Monson (both RQN)           3.6      560.00       2,016.00
                                    regarding preparation of 2004 Examination of certain of the Debtors'
                                    affiliates.
Cheng, Patrick           12/11/06   Review and analyze cash flows to and from 3rd party lenders to USA            1.2      560.00        672.00
                                    Commercial Mortgage and its affiliates.
Cheng, Patrick           12/11/06   Correspond with E. Monson (RQN) via myriad emails concerning the              0.6      560.00        336.00
                                    2004 Examinations scheduled for certain affiliates of the Debtors.

Cheng, Patrick           12/11/06   Review and analyze cash flows to and from 3rd party lenders to USA            2.4      560.00       1,344.00
                                    Commercial Mortgage and its affiliates.
Cheng, Patrick           12/11/06   Continue to review and analyze cash flows to and from 3rd party lenders       2.6      560.00       1,456.00
                                    to USA Commercial Mortgage and its affiliates.
Cheng, Patrick           12/11/06   Review updated analysis of disbursements from Collection Trust                0.6      560.00        336.00
                                    Account to determine non-investor payees.
Cheng, Patrick           12/11/06   Continue to review and analyze cash flows to and from 3rd party lenders       1.7      560.00        952.00
                                    to USA Commercial Mortgage and its affiliates.
Cheng, Patrick           12/12/06   Review and analyze Diversified Trust Deed Fund's Sheraton loan                1.4      560.00        784.00
                                    receivable balance at year end 2005 and the related payable from a
                                    Debtors' affiliate.
Cheng, Patrick           12/12/06   Review and analyze historical activities of changes in Diversified Trust      0.8      560.00        448.00
                                    Deed Fund's Sheraton loan receivable balance since inception and the
                                    related payable from a Debtors' affiliate.
Cheng, Patrick           12/12/06   Coordinate the preparation of information package for the purpose of          0.8      560.00        448.00
                                    facilitating scheduled 2004 Examination of certain of Debtors' affiliates.
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                                                                  EXHIBIT E16

                                                  USA Commercial Mortgage Company, et al.
                                                   Avoidance Actions/Preference Analysis
                                                   April 13, 2006 through March 12, 2007



Name                       Date      Description                                                                 Hours    Rate          Fees
Cheng, Patrick            12/12/06   Review and update information binders assembled to facilitate RQN's          1.4      560.00          784.00
                                     2004 Examination of certain Debtors' affiliates.
Cheng, Patrick            12/12/06   Review updated analysis of disbursements from Collection Trust               1.3      560.00          728.00
                                     Account to determine non-investor payees.
Cheng, Patrick            12/12/06   Review historical activities of changes in Diversified Trust Deed Fund's     2.2      560.00         1,232.00
                                     Sheraton loan receivable balance since inception and the related payable
                                     from a Debtors' affiliate.
Cheng, Patrick            12/14/06   Draft summary on analysis of USA Commercial Mortgage's solvency              0.8      560.00          448.00
                                     during the months preceded the filing of Chapter 11 petition.

Cheng, Patrick            12/14/06   Update a draft summary on analysis of USA Commercial Mortgage's              0.4      560.00          224.00
                                     solvency during the months preceded the filing of Chapter 11 petition.

Smith, Susan              12/15/06   Review draft of preference action to check facts alleged.                    0.4      590.00           236.00
Allison, Tom              12/18/06   Participate in call with D. Bunch (Creditor) and J. Atkinson (MFIM).         1.9      650.00         1,235.00
Atkinson, James           12/18/06   Discuss with Debtors' counsel regarding Deposition of D. Bunch               0.7      650.00           455.00
                                     (Creditor).
Atkinson, James           12/18/06   Participate in call with D. Bunch (Creditor) and T. Allison (MFIM).          1.9      650.00         1,235.00
Atkinson, James           12/18/06   Review Declaration of D. Bunch (Creditor) and attached loan transaction      2.1      650.00         1,365.00
                                     schedules in preparation of call with D. Bunch (Creditor).

Cheng, Patrick            12/18/06   Review and assess the documents relevant to the 2004 Examination of          1.8      560.00         1,008.00
                                     the Debtor's former controller.
Cheng, Patrick            12/18/06   Review and assess the documents relevant to the 2004 Examination of          2.8      560.00         1,568.00
                                     the Debtor's former controller.
Bauck, Lyle               12/20/06   Analyze and review timing of fundings of the Del Bunch loan with USA         0.4      290.00          116.00
                                     Commercial Mortgage.
Cheng, Patrick            12/29/06   Review financial records of the Debtors and certain of their affiliate to    2.1      560.00         1,176.00
                                     trace the flow of funds from financing activities.
Cheng, Patrick            12/29/06   Continue analyzing financial records of the Debtors and certain of their     2.3      560.00         1,288.00
                                     affiliate to trace the flow of funds from financing activities.
                                                         Total Avoidance Actions/Preference Analysis             73.0               $   41,387.00



January 1, 2007 through January 31, 2007
Allison, Tom              01/05/07   Discuss with R. Koe (MFIM) on Bunch Claim.                                   0.2    $ 650.00 $        130.00
Atkinson, James           01/05/07   Review payments through USA Commercial Mortgage to Sal Reale.                1.3      650.00          845.00
Atkinson, James           01/05/07   Discuss with P. Cheng (MFIM) regarding analysis of D. Bunch (Creditor)       1.2      650.00          780.00
                                     loan payments and receipts.
Cheng, Patrick            01/05/07   Discuss with J. Atkinson (MFIM) regarding analysis of D. Bunch               1.2      560.00          672.00
                                     (Creditor) loan payments and receipts.
Cheng, Patrick            01/05/07   Review myriad Motions filed by both plaintiff and defendants in the          2.0      560.00         1,120.00
                                     matter relating to the unsecured claims of Del Bunch.
Cheng, Patrick            01/05/07   Review analysis performed on USA Commercial Mortgage's uses of loan          1.6      560.00          896.00
                                     proceeds from Del Bunch.
Cheng, Patrick            01/05/07   Analyze repayments of principal and interests to Del Bunch by USA            1.3      560.00          728.00
                                     Commercial Mortgage and from Collection Trust Account.
Cheng, Patrick            01/05/07   Review financial data included in the first draft of avoidance complaint     2.1      560.00         1,176.00
                                     against Reale.
Koe, Robert               01/05/07   Discuss with T. Allison (MFIM) on Bunch Claim.                               0.2      650.00          130.00
Smith, Susan              01/05/07   Review draft of Sal Reale complaint to add information about preference      0.6      590.00          354.00
                                     and fraudulent transfers.
Smith, Susan              01/05/07   Review comments and edits from P. Cheng (MFIM) on SR complaint.              0.4      590.00          236.00

Smith, Susan              01/05/07   Research scheduled transfers vs. ACH records.                                0.4      590.00          236.00
Smith, Susan              01/05/07   Analyze and request further information on differences between filed         0.4      590.00          236.00
                                     Schedules and ACH data.
Atkinson, James           01/06/07   Prepare analyses regarding D. Bunch (Creditor) payments and receipts.        0.9      650.00          585.00

Atkinson, James           01/06/07   Discuss with P. Cheng (MFIM) regarding the analysis of USA                   1.3      650.00          845.00
                                     Commercial Mortgage's uses of loan proceeds from the Del Bunch loan
                                     and consider other related analyses to be performed.
Cheng, Patrick            01/06/07   Discuss with J. Atkinson (MFIM) regarding the analysis of USA                1.3      560.00          728.00
                                     Commercial Mortgage's uses of loan proceeds from the Del Bunch loan
                                     and consider other related analyses to be performed.
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                                                           EXHIBIT E16

                                           USA Commercial Mortgage Company, et al.
                                            Avoidance Actions/Preference Analysis
                                            April 13, 2006 through March 12, 2007



Name                 Date      Description                                                                Hours    Rate     Fees
Cheng, Patrick      01/06/07   Continue reviewing analysis performed on USA Commercial Mortgage's          2.1     560.00       1,176.00
                               uses of loan proceeds from Del Bunch.
Cheng, Patrick      01/06/07   Review additional accounting activities of USA Commercial Mortgage          0.2     560.00        112.00
                               in order to determine the uses of loan proceeds from the Del Bunch loan.

Atkinson, James     01/07/07   Prepare analyses regarding D. Bunch (Creditor) payments and receipts.       1.2     650.00        780.00

Cheng, Patrick      01/07/07   Continue reviewing and analyzing additional accounting activities of        3.7     560.00       2,072.00
                               USA Commercial Mortgage in order to determine the uses of loan
                               proceeds from the Del Bunch loan.
Allison, Tom        01/08/07   Participate in meeting with J. Atkinson (MFIM) to discuss analyses of D.    1.1     650.00        715.00
                               Bunch (Creditor) loan payments and receipts.
Allison, Tom        01/08/07   Review with J. Atkinson and P. Cheng (both MFIM) the analysis of USA        0.4     650.00        260.00
                               Commercial Mortgage's uses of loan proceeds from the Del Bunch loan.

Atkinson, James     01/08/07   Review analyses regarding D. Bunch (Creditor) payments and receipts.        0.5     650.00        325.00

Atkinson, James     01/08/07   Review with P. Cheng (MFIM) the analysis of USA Commercial                  0.6     650.00        390.00
                               Mortgage's uses of loan proceeds from the Del Bunch loan.
Atkinson, James     01/08/07   Participate in meeting with T. Allison (MFIM) to discuss analyses of D.     1.1     650.00        715.00
                               Bunch (Creditor) loan payments and receipts.
Atkinson, James     01/08/07   Review with P. Cheng and T. Allison (both MFIM) the analysis of USA         0.4     650.00        260.00
                               Commercial Mortgage's uses of loan proceeds from the Del Bunch loan.

Cheng, Patrick      01/08/07   Review with J. Atkinson (MFIM) the analysis of USA Commercial               0.6     560.00        336.00
                               Mortgage's uses of loan proceeds from the Del Bunch loan.
Cheng, Patrick      01/08/07   Review with J. Atkinson and T. Allison (both MFIM) the analysis of          0.4     560.00        224.00
                               USA Commercial Mortgage's uses of loan proceeds from the Del Bunch
                               loan.
Allison, Tom        01/09/07   Participate in meeting with Debtors' counsel and J. Atkinson (MFIM) to      0.6     650.00        390.00
                               discuss avoidance actions.
Atkinson, James     01/09/07   Participate in meeting with Debtors' counsel and T. Allison (MFIM) to       0.6     650.00        390.00
                               discuss avoidance actions.
Cheng, Patrick      01/10/07   Review Sal Reale complaint with S. Smith (MFIM).                            0.3     560.00        168.00
Smith, Susan        01/10/07   Review Sal Reale complaint with P. Cheng (MFIM).                            0.3     590.00        177.00
Cheng, Patrick      01/11/07   Continue reviewing and document comments related to the financial data      1.1     560.00        616.00
                               included in the first draft of avoidance complaint against Reale.
Cheng, Patrick      01/11/07   Perform further review of the bank records of the Collection Trust          3.0     560.00       1,680.00
                               Account and USA Commercial Mortgage to confirm interest payments to
                               Reale.
Smith, Susan        01/11/07   Review files on funds transfers to Sal Reale and give instructions on       0.8     590.00        472.00
                               analysis to be prepared.
Atkinson, James     01/12/07   Review supplemental Declarations of Del and Ernestine Bunch.                0.2     650.00         130.00
Cheng, Patrick      01/12/07   Review and document comments on certain financial data included in an       3.1     560.00       1,736.00
                               updated draft complaint prepared by Schwartzer & McPherson against
                               Reale.
Cheng, Patrick      01/12/07   Review comments with J. McPherson (Schwartzer & McPherson)                  0.4     560.00        224.00
                               regarding the certain schedules included in the draft complaint against
                               Reale.
Cheng, Patrick      01/12/07   Review an updated draft of the complaint filed against Reale prepared by    0.6     560.00        336.00
                               Schwartzer & McPherson.
Smith, Susan        01/12/07   Review and comment on latest version of Protective Order.                   0.4     590.00        236.00
Smith, Susan        01/12/07   Review and comment on Complaint, schedule of payments and back up           1.3     590.00        767.00
                               for Sal Reale.
Smith, Susan        01/16/07   Review Reale complaint and provide comments.                                0.3     590.00        177.00
Cheng, Patrick      01/17/07   Review response from defendant in the Involuntary Petition filed against    0.4     560.00        224.00
                               Investors VI.
Atkinson, James     01/18/07   Review subpoena for documents issued by Sal Reale on USA                    1.1     650.00        715.00
                               Commercial Mortgage.
Cheng, Patrick      01/18/07   Prepare for a conference call regarding analysis of fund transfers          0.4     560.00        224.00
                               between the Debtor and its Affiliates.
Cheng, Patrick      01/18/07   Analyze certain fund transfers between the Debtors' Affiliates and          0.9     560.00        504.00
                               determine their sources.
Cheng, Patrick      01/18/07   Review additional fund transfers between the Debtors and their              0.7     560.00        392.00
                               Affiliates.
Atkinson, James     01/24/07   Review amended complaint USA Commercial Mortgage et al. v. Sal              1.2     650.00        780.00
                               Reale.
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                                                                 EXHIBIT E16

                                                 USA Commercial Mortgage Company, et al.
                                                  Avoidance Actions/Preference Analysis
                                                  April 13, 2006 through March 12, 2007



Name                       Date      Description                                                               Hours    Rate          Fees
Smith, Susan              01/24/07   Review final draft of Sal Reale fraudulent transfer complaint.             0.4      590.00          236.00
Smith, Susan              01/25/07   Review discovery request from Bunch.                                       0.3      590.00          177.00
Smith, Susan              01/25/07   Participate in conference call with Diversified Trust Deed Fund            1.2      590.00          708.00
                                     professionals and L. Schwartzer (Schwartzer & McPherson) regarding
                                     the discovery request from Sal Reale attorney.
Fillip, Kasey             01/26/07   Prepare summary of documents pertaining to Sal Reale.                      1.1      330.00          363.00
Smith, Susan              01/26/07   Review Sal Reale payment files.                                            0.4      590.00          236.00
                                                         Total Avoidance Actions/Preference Analysis           49.8               $   29,120.00



February 1, 2007 through February 28, 2007
Smith, Susan              02/01/07   Review amended answer to complaint by Sal Reale.                           0.4    $ 590.00 $        236.00
Cheng, Patrick            02/02/07   Read and analyze motion filed by R. Walker (Woodbury & Kelser) to          0.8      560.00          448.00
                                     dismiss complaint against USA Investors VI.
Cheng, Patrick            02/02/07   Review available document for production to the request for documents      1.0      560.00          560.00
                                     by a D. Bunch (Creditor).
Atkinson, James           02/03/07   Review Motion to Intervene and Declaration in HMA Sales/Royal Hotel        3.3      650.00         2,145.00
                                     matter by Liberty bank.
Bauck, Lyle               02/05/07   Review Del and Ernestine Bunch first request for production of             0.3      290.00              87.00
                                     documents dated 1/24/2007.
Bauck, Lyle               02/05/07   Review Del and Ernestine Bunch second request for production of            0.1      290.00              29.00
                                     documents dated 1/25/2007.
Bauck, Lyle               02/05/07   Review availability and inventory bank records requested in the Del and    1.4      290.00          406.00
                                     Ernestine Bunch request for productions of documents.
Cheng, Patrick            02/05/07   Review and organize document for production to the request for             1.2      560.00          672.00
                                     documents by D. Bunch (Creditor).
Cheng, Patrick            02/05/07   Review and organize USA Commercial Mortgage's bank account                 0.9      560.00          504.00
                                     information for production to the request for documents by D. Bunch
                                     (Creditor).
Cheng, Patrick            02/05/07   Review and organize USA Commercial Mortgage's federal income tax           0.6      560.00          336.00
                                     information for production to the request for documents by D. Bunch
                                     (Creditor).
Bauck, Lyle               02/06/07   Analyze and organize the USA Investment Partners 2005 bank                 0.6      290.00          174.00
                                     statements for the Del and Ernestine Bunch second request for
                                     production of documents dated 1/25/2007.
Bauck, Lyle               02/06/07   Analyze and organize the USA Investment Partners 2006 bank                 0.2      290.00              58.00
                                     statements for the Del and Ernestine Bunch second request for
                                     production of documents dated 1/25/2007.
Bauck, Lyle               02/06/07   Create list of missing bank statements to have USA Capital accounting      0.6      290.00          174.00
                                     department further research inconjunction with the Del and Ernestine
                                     Bunch request for production of documents.
Bauck, Lyle               02/06/07   Analyze and organize the 2005 bank statements for the Choice IV            0.2      290.00              58.00
                                     account for the Del and Ernestine Bunch first request for production of
                                     documents dated 1/25/2007.
Bauck, Lyle               02/06/07   Analyze and organize the 2006 bank statements for the Choice IV            0.1      290.00              29.00
                                     account for the Del and Ernestine Bunch first request for production of
                                     documents dated 1/24/2007.
Bauck, Lyle               02/06/07   Analyze and organize the 2005 bank statements for the basic business       0.3      290.00              87.00
                                     checking account for the Del and Ernestine Bunch first request for
                                     production of documents dated 1/25/2007.
Bauck, Lyle               02/06/07   Analyze and organize the 2006 bank statements for the basic business       0.2      290.00              58.00
                                     checking account for the Del and Ernestine Bunch first request for
                                     production of documents dated 1/25/2007.
Bauck, Lyle               02/06/07   Analyze and organize the 2005 bank statements for the collections trust    0.2      290.00              58.00
                                     checking account for the Del and Ernestine Bunch first request for
                                     production of documents dated 1/25/2007.
Bauck, Lyle               02/06/07   Analyze and organize the 2006 bank statements for the collections trust    0.1      290.00              29.00
                                     checking account for the Del and Ernestine Bunch first request for
                                     production of documents dated 1/25/2007.
Bauck, Lyle               02/06/07   Analyze and organize the 2005 bank statements for the Investors trust      0.4      290.00          116.00
                                     checking account for the Del and Ernestine Bunch first request for
                                     production of documents dated 1/25/2007.
Bauck, Lyle               02/06/07   Analyze and organize the 2006 bank statements for the Investors trust      0.2      290.00              58.00
                                     checking account for the Del and Ernestine Bunch first request for
                                     production of documents dated 1/25/2007.
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                                                           EXHIBIT E16

                                           USA Commercial Mortgage Company, et al.
                                            Avoidance Actions/Preference Analysis
                                            April 13, 2006 through March 12, 2007



Name                 Date      Description                                                               Hours     Rate         Fees
Cheng, Patrick      02/06/07   Review available audited financial statements of Diversified Trust Deed    0.4      560.00          224.00
                               Fund to confirmed representations made by the Beadle McBride, the
                               outside auditor.
Cheng, Patrick      02/06/07   Review bank account information compiled in response to the Del Bunch      0.6      560.00          336.00
                               request and request additional bank statements from L. Weese
                               (USACM).
Atkinson, James     02/07/07   Review Declaration of Jason Gordon in support of Liberty Bank Motion       1.4      650.00          910.00
                               to Intervene in HMA Sales matter.
Cheng, Patrick      02/07/07   Begin reviewing compiled documents related to the complaint against        3.2      560.00         1,792.00
                               Sal Reale.
Cheng, Patrick      02/07/07   Review a draft response to Sal Reale's request for production of           0.4      560.00          224.00
                               document.
Atkinson, James     02/08/07   Review requests for production of documents of certain third parties.      1.2      650.00          780.00

Bauck, Lyle         02/08/07   Research and investigate the remaining missing documents needed for        3.2      290.00          928.00
                               the Del and Ernestine Bunch first request for production of documents
                               dated 1/25/2007.
Bauck, Lyle         02/08/07   Organize Del Bunch documents and prepare digital copies for transfer to    0.4      290.00          116.00
                               E. Monson (RQN).
Cheng, Patrick      02/08/07   Review final copy of the document to be produced to D. Bunch               0.6      560.00          336.00
                               (Creditor).
Cheng, Patrick      02/08/07   Review myriad email correspondences among the counsel for the              0.7      560.00          392.00
                               Debtors, Diversified Trust Deed Fund and Committee related to the
                               response to Sal Reale's request for document.
Cheng, Patrick      02/08/07   Continue reviewing compiled documents related to the complaint against     0.9      560.00          504.00
                               Sal Reale.
Cheng, Patrick      02/09/07   Review and comment the final draft of response to Sal Reale's request      0.6      560.00          336.00
                               for production of documents.
Cheng, Patrick      02/16/07   Review, research and respond inquiry from J. McPherson (Schwartzer &       1.1      560.00          616.00
                               McPherson) regarding the Reale litigation.
Cadwell, Kristin    02/20/07   Assemble, organize and scan documents related to the                       1.2      190.00          228.00
                               Preference/Avoidance Action Against Sal Reale.
Smith, Susan        02/20/07   Locate and send files to R. Charles (L&R) regarding the preference         0.1      590.00              59.00
                               complaint.
Cheng, Patrick      02/21/07   Review analyses of the financial data related to the USA Investors VI      0.7      560.00          392.00
                               litigation.
Cheng, Patrick      02/22/07   Continue reviewing analyses and available documents related to the         1.1      560.00          616.00
                               USA Investors VI litigation.
Smith, Susan        02/22/07   Review response from D. Gerrard (Reale counsel) regarding preference       0.5      590.00          295.00
                               action and respond with additional information.
Atkinson, James     02/28/07   Review Motions filed by Liberty Bank in connection with writ of            0.4      650.00          260.00
                               attachment.
Atkinson, James     02/28/07   Review Motions to Dismiss Adversary Proceeding filed by Great White.       0.4      650.00          260.00

                                                   Total Avoidance Actions/Preference Analysis           32.2               $   15,926.00




                               Total Hours and Fees for Avoidance Actions/Preference                     155.0              $   86,433.00
                               Analysis from April 13, 2006 through March 12, 2007




                                                          USA Commercial Mortgage Company                  100%             $   86,433.00
